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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11    MICHAEL R. SPENGLER,             ) Case No. 2:21-cv-08574-DOC (SP)
                                       )
12                       Petitioner,   )
                                       )
13                 v.                  )           JUDGMENT
                                       )
14    SUPERIOR COURT OF LOS            )
      ANGELES,                         )
15                                     )
                         Respondent.   )
16                                     )
                                       )
17
18         Pursuant to the Memorandum and Order Summarily Dismissing Petition for
19 Writ of Habeas Corpus,
20         IT IS HEREBY ADJUDGED that the Petition is denied and this action is
21 dismissed with prejudice.
22
            'HFHPEHU
23 Dated: ___________________
24
                                        _______________________________
25
                                        HONORABLE DAVID O. CARTER
26                                      UNITED STATES DISTRICT JUDGE
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